




Dismissed and Memorandum Opinion filed December 11, 2008








&nbsp;

Dismissed
and Memorandum Opinion filed December 11, 2008.

&nbsp;

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-08-00899-CR

____________

&nbsp;

MORRISA DINEAN CASTANEDA,
Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the
339th District Court

Harris County, Texas

Trial Court Cause No.
1158051

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

A
written request to withdraw the notice of appeal, personally signed by
appellant, has been filed with this Court.&nbsp; See Tex. R. App. P. 42.2.&nbsp; Because this Court has not issued an
opinion, we grant appellant=s request.

Accordingly,
we order the appeal dismissed.&nbsp; We direct the Clerk of the Court to issue the
mandate of the Court immediately.

PER CURIAM

Judgment rendered and Memorandum
Opinion filed December 11, 2008.

Panel consists of Justices Yates,
Guzman, and Sullivan.

Do not publish C Tex.
R. App. P. 47.2(b).





